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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                     ELECTRONIC FILING ORDER IN CIVIL CASES

      The Court orders that the parties shall file all documents in this case

electronically. Counsel are reminded that they must comply with the following

requirements:

      1.       Counsel must comply with all applicable Federal Rules of Civil Procedure,

the District's Local Rules, the requirements set forth in the District's CM/ECF Policies

and Procedures Manual, and any other rules and administrative procedures which

implement the District's CM/ECF system.

      2.       Documents filed electronically must be filed in OCR text searchable PDF

format.

      3.       Unless otherwise ordered, on the business day next following the day on

which a document is filed electronically, counsel must provide Chambers with one

paper copy of the following e-filed documents:

      All pleadings (including briefs and exhibits) relating to the following:

      a.       Applications for temporary restraining orders, preliminary injunctions or
               prejudgment remedies;
      b.       Dispositive motions (motions to dismiss, motion for judgment on the
               pleadings, or for summary judgment);
      c.       Requested jury instructions;
      d.       Compliance with Pretrial Orders
      e.       Trial briefs, including proposed findings of fact and conclusions of law;
               and
      f.       Any other motion, request or application which, taking it together
               with all related filings (e.g., memo in support, affidavits) are in
               excess of 20 pages.

SO ORDERED.
                                   /s/ Janet C. Hall
                                   Janet C. Hall
                                   United States District Judge
rev. 4/29/15
